Case:20-16815-JGR Doc#:187 Filed:05/20/21 Entered:05/20/21 14:20:23 Pagel of 13

Fillin this information to identify the case:

Debtor Neme Richard Weingarten

| United States Bankruptcy Court for tha: District of _ Colorado

cose munber 20-16815-JGR

CJ Check if this is an

 

 

 

 

amended filing
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11 127
; Apr, 2021 Dat rt filed: 05/20/2021
Month ate repo ae
Line of business: Personal NAISC code:

in accordance.with title 28, section 1746, of the United States Code, |! declare under penalty of perjury
that | have examined the following small business monthly operating report.and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party: Righard E Welndanen

    

Original signature of responsible party

 

Printed name of responsible party Richard E Weingarten

 

P| 4. Questionnaire

Answer all questions on behalf of the debtor for the period covered by this report, unless. otherwise indicated.

 

If you anawer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.
Did the business operate during the-entire reporting period?

Do you pian ta continue to operate the business next month?

Have you paid all of your bills on time?

Did you pay your employees on time?

Have you deposited all the receipts fdr your business into debtor in.possession (DIP). accounts?

Have you timely filed your tax returns and paid all of your taxes?

Have you timely-filed all other required government filings?

Are you current on your quarterly fee payments te the U.S. Trustee.or Bankruptcy Administrator?

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Have you timely paid all of your insurance premiums?

If you answer Yes to any of the questions in lings 19-18, attach an explanation and label it Exhibit 8.
10. Do you have any bank accounts open other than the. DIP accounts?

tt. Have you sold any assets other than inventory?

12. Have you sold or transferred.any agsels or providad services fo anyone related to the DIP in any way?

13. Did any insurance company cancel-your policy?

14. Did you have any unusual or significant unanticipated expenses?

15. Have you borrowed money from anyone or has anyone made any payments on your behalf?

NDOsgoodgdg
OBORBA
HOOOodadSaA

16. Has anyone made an investment in your business?

Official Form 425C Monthly Qperating Report for Small Gusiness Under Chapter 11 page 1
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17. Have you paid any bills you owed before you filed bankruptcy?

Oo
6) &l
Oo

18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?

 

| | 2. Summary of Cash Activity for All Accounts

19. Total opening balance of all accounts

This amount must equa! what you reported as the cash on hand at the end of the month in the previous
month. if this is your first report, report the total cash on hand as of the date of the filing of this case.

$24,103.86

20. Total cash receipts

Attach a listing of all cash received for the month and label it Exhibit C. Include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from other parties, or loans, gifts, or
payments made by other parties on your behalf. Do not attach bank statements in
lieu of Exhibit C.

Report the total from Exhibit C here.

21. Total cash disbursements

Attach a listing of all payments you made in the month and label it Exhibit D. List the
date paid, payee, purpose, and amount. Include all cash payments, debit card
transactions, checks issued even if they have not cleared the bank, outstanding
checks issued before the bankruptcy was filed that were allowed to clear this month,
and payments made by other parties on your behalf. Do not attach bank statements

Report the total from Exhibit D here.

$ 9,118.32

22. Net cash flow

Subtract line 21 from line 20 and report the result here.
This amount may be different from what you may have calculated as net profit.

+ $_-2,631.79

23. Cash on hand at the end of the month
Add line 22 + line 19. Report the result here.
P = $21,472.25
Report this figure as the cash on hand at the beginning of the month on your next operating report. TO

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit.

BE 2. vopsia Bins

Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

 

*
24. Total payables 5 _ 26,320.46
(Exhibit E)

*$26,320.46 in fees to Debtor's counsel, fee application pending.

 

Official Form 425¢ Monthly Operating Report for Small Business Under Chapter 11 page 2
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Debtor Name Richard Weingarten Case number 20-16815-JGR

| | 4. Money Owed to You

Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
have sold, Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
Identify who owes you money, how much is owed, and when payment is due. Report the total from

Exhibit F here.
25. Total receivables 5 0.00
(Exhibit F)

 

ae «. Employees

 

26. What was the number of employees when the case was filed?

27. What |s the number of employees as of the date of this monthly report?

 

mm 6. Professional Fees

 

 

 

      

 

 

 

 

 

 

 

 

28. How much have you paid this month in professional fees related to this bankruptcy case? $ __9.00
*
29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ __ 23,860.00
30. How much have you paid this month in other professional fees? $ ___9.00
31. How much have you paid in total other professional fees since filing the case? ¢__ 2,350.00
| = Projections
Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projecied figures in the first month should match those provided at the initial debtor interview, if any.
yep aan:

32. Cash receipts ¢ 8,460.74 — g 9,118.32 = $ -657.58
33, Cash disbursements ¢ 6,360.00 — g 11,750.11 = 3 -5,390.11
34, Net cash flow $__ 2,100.70 —ig¢ -2,631.79 3 4,462.49
35. Total projected cash receipts for the next month: $ __ 8,618.34
36. Total projected cash disbursements for the next month: -$ 6,360.00
37. Total projected net cash flow for the next month: =5 2,258.34

“Paid from retainer, retainer balance is -0-.

 

Official Form 425¢ Monthly Operating Report for Small Business Under Chapter 11 page 3
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Debtor Name Richard Weingarten Case number 20-16815-JGR

a :. Additional Information

 

If available, check the box to the left and attach copies of the following documents.

Gf 38. Bank statements for each open account {redact ail but the last 4 digits of account numbers).
(] 39. Bank reconciliation reports for each account.

{) 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.
() 41. Budget, projection, or forecast reports.

(} 42. Project, job costing, or work-in-progress reports.

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 4
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Wells Fargo’ Preferred Checking

April 30, 2021 m Page 1 of 5

RICHARD E WEINGARTEN
DEBTOR IN POSSESSION
CH11 CASE #20-16815 (CO)
1133 NORTHRIDGE DR
ERIE CO 80516-9053

 

 

Questions?

Available by phone 24 hours a day, 7 days a week:
We accept all relay calis, including 711

1-800-TO-WELLS (1-800-869-3557)
En espafiol: 1-877-727-2932

Online: wellsfargo.com

Write: Wells Fargo Bank, N.A. (163)
P.O. Box 6995
Portland, OR 97228-6995

 

You and Wells Fargo

Thank you for being a loyal Wells Fargo customer. We value your trust in our
company and look forward to continuing to serve you with your financial needs.

Account options

A check mark in the box indicates you have these
convenient services with your account(s). Go to
wellsfargo.com or call the number above if you have
questions or if you would like to add new services.

Online Banking Direct Deposit
Online Bill Pay LE] Auto Transfer/Payment C]
Online Statements Overdraft Protection [__|
Mobile Banking [7] Debit Card

My Spending Report Overdraft Service

IMPORTANT ACCOUNT INFORMATION

The following dedicated text telephone/telecommunication device for the deaf (TTY/TDD) lines are being retired on March 5, 2021:
800-877-4833, 800-419-2265 and 800-600-4833. We accept relay-assisted calls, including calls from the 711 service, when customers call
any Wells Fargo customer service toll-free phone number. Wells Fargo will continue to provide excellent service to our deaf or hard of

hearing customers and customers with speech disorders.

 

Statement period activity summary

 

Beginning balance on 4/1 $24,103.86
Depesits/Additions 9,132.60
Withdrawals/Subtractions - 11,764.21
Ending balance on 4/30 $21,472.25

(163)

Account number: [J6730

RICHARD E WEINGARTEN
DEBTOR IN POSSESSION
CH11 CASE #20-16815 (CO)

Colorado account terms and conditions apply

For Direct Deposit use
Routing Number (RTN): 102000076
Case:20-16815-JGR Doc#:187 Filed:05/20/21 Entered:05/20/21 14:20:23 Pagei0 of 13

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Overdraft Protection

This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements

please call the number listed on your statement or visit your Wells Fargo branch.

 

interest summary

Interest paid this statement $0.18
Average collected balance $21,721.90
Annual percentage yield earned 0.01%
Interest earned this statement period $0.18
Interest paid this year $0.68

 

Transaction history

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily

Date Number Description Additions Subtractions balance

4/1 Fidelity Investm Fidelity 0003562 Weingarten, Richard E 1,092.32

4/1 Purchase authorized on 03/30 Chick-Fil-A #02061 Thornton CO 10.89
$461090058380117 Card 1176

4/1 111 Check 1,500.00 23,685.29

4/2 Purchase authorized on 04/01 Front Range Gun Cl Loveland CO 1.00
$301091799826830 Card 1176

4/2 Purchase authorized on 04/02 Shell Service Station Erie CO 43.70
P00301092416599868 Card 1176

4/2 Purchase authorized on 04/02 Circle K # 41129 885 W Broomfield 36.52
CO P00000000286523604 Card 1176

4l2 Bill Pay US Bank Consumer Loan Mobile xxxxx44263 on 04-02 468.81

4/2 Quicken Loans Mtg Pymts 040121 3362880596 Richard E 3,043.96 20,091.30
Weingarten

4/5 Purchase authorized on 04/01 Raising Cane’s #35 Broomfield CO 13.27
$58 1091855979756 Card 1176

4/5 Purchase authorized on 04/02 Cracker Barrel #27 Loveland CO 29.28
$301092497342355 Card 1176

4/5 Bill Pay Royal Crest Dairy Mobile x08790 on 04-05 35.60

4/5 Purchase authorized on 04/03 Front Range Gun Cl Loveland CO 1.00
$581093734399881 Card 1176

4/5 Purchase authorized on 04/04 Wal-Mart #0953 Loveland CO 7.15
P0Q0000000573090880 Card 1176

4(5 Purchase authorized on 04/04 Shell Service Station Erie CO 13.77
P00301095055104989 Card 1176

4/5 Comcast 8497606 xxxxx8338 210403 7414549 Richard 170.76
*Weingarten ‘

4/5 410 Check 350.00 19,470.47

4/6 Purchase authorized on 04/05 Sq *Big Daddy Bage Lafayette CO 27.66 19,442.81
$301095448428403 Card 1176

4/7 Deposit Made in A Branch/Store 500.00

4i7 Purchase authorized on 04/05 Coldstone #20394/R Longmont 15.07
CO $301095697455965 Card 1176

4i7 Purchase authorized on 04/05 Safeway #2624 Broomfield CO 5.72
$581095730799369 Card 1176

4/7 Purchase authorized on 04/07 Shell Service Station Erie CO 43.65 19,878.37
P00301097412088406 Card 1176

4/8 Purchase authorized on 04/08 King Soop 2355 W. 136T 49.02
Broomfield CO P00000000387687186 Card 1176

4/8 Purchase authorized on 04/08 Five Guys 4480 W 121Si 20.66 19,808.89
Broomfieid CO P00000000272871616 Card 1176

4/9 Purchase authorized on 04/07 Chick-Fil-A #01888 Loveland CO 20.57 19,788.12

$381097658499528 Card 1176

 
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Transaction history (continued)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily

Date Number Description Additions Subtractions balance

412 Purchase authorized on 04/12 Murphy7491Atwal Broomfield CO 44.84 19,743.28
P00000000174628000 Card 1176

4/13 Karen Weingarten Ib A2A 210412 0005 Karen Weingarten 500.00

43 Artech LLC Dir Dep 210402 127960 Weingarten,Richard E 3,131.72

4/13 Front Range Gun Payroll 210413 P4903452 Richard Weingarten 381.28

413 Purchase authorized on 04/12 McDonald's F37876 Erie CO 7.93 23,748.35
$381103010810488 Card 1176

44 Xcel Energy-PSCO Online Pmt 210414 Ckf937829386POS 60.28 23,688.07
Weingarten,Richard

4/15 United Power,Inc Elec Pmt 0000937101 Richard Weingarten 139.00 23,549.07

4/16 Purchase authorized on 04/15 Front Range Gun Cl Loveland CO 1.00
$581105644211939 Card 1176

4/16 Purchase authorized on 04/16 Shell Service Station Erie CO 38.73 23,509.34
P00461106407917495 Card 1176

49 Purchase authorized on 04/16 Chick-Fil-A #01888 Loveland CO 7.56
$381106453350415 Card 1176

419 Purchase authorized on 04/16 IN *One Way Dispos 303-8230556 79.80
CO $581 106834609091 Card 1176

419 Recurring Payment authorized on 04/17 Amazon Prime*Iw5Kb 119,00
Amzn.Com/Bill WA $301108123686806 Card 1176

419 Purchase authorized on 04/18 Walgreens #12864 Erie CO 98.46
$301109056425262 Card 1176

49 Purchase authorized on 04/19 King Soopers #07 1891 Sta Erie CO 41.91
P00381110003210500 Card 1176

4/19 Purchase authorized on 04/19 King Soop 1891 State H Erie CO 24.62 23,137.99
P00000000039528326 Card 1176

4/20 Purchase authorized on 04/18 Tst* McGraff S Loveland CO 32.22 23,105.77
$581109014835224 Card 1176

4/21 Recurring Payment authorized on 04/19 Progressive Ins 206.39 22,899.38
800-776-4737 OH $381110237960615 Card 1176

4/22 Recurring Payment authorized on 04/21 Netflix.Com Netflix.Com 17.99
CA $301111379585532 Card 1176

4/22 Purchase authorized on 04/21 Shell Service Station Erie CO 22.31
P00381 112063524982 Card 1176

4/22 ATT Payment 042121 54368401 1Epays Richard Weingarten 149.12 22,709.96

4/23 Purchase authorized on 04/21 Firehouse Subs 128 Loveland CO 8.32 22,701.64
$461111774705675 Card 1176

4/26 Purchase Retum authorized on 04/23 Sq “Big Daddy Bage 14.10
Lafayette CO S$301113461348611 Card 1176

4/26 Purchase authorized on 04/23 Sq *Big Daddy Bage Lafayette CO 40.69
$301113459521363 Card 1176

4/26 Purchase authorized on 04/23 Prestige Chrysler Longmont CO 43.90
$381113502379293 Card 1176

4/26 Purchase authorized on 04/24 Amzn Mktp US*Rb7Jm 20.69
Amzn.Com/Bill WA $5811 14694761649 Card 1176

4/26 Purchase authorized on 04/25 Shell Service Station Erie CO 33.66
P00461115431183531 Card 1176 :

4/26 Purchase authorized on 04/25 Wal-Mart Super Center Loveland 26.12 22,550.68
CO P00000000630405342 Card 1176

4/27 Artech LLC Dir Dep 210416 127960 Weingarten,Richard E 3,131.73

4/27 Front Range Gun Payroll 210427 P5028629 Richard Weingarten 381.27

4/27 Purchase authorized on 04/24 Amazon.Com*Xw80L5A 26.68
Amzn.Com/Bill WA $461114694735404 Card 1176

4/27 Jpmc FBO Instame Boulder ME 021000028418475 Richard 4,531.08 21,505.92
Weingarten

4/29 Purchase authorized on 04/27 Tst* The Great Gre Westminster 22.12 21,483.80

CO $381117821448524 Card 1176
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Transaction history (continued)

 

 

 

 

Check . Deposits/ Withdrawals/ Ending daily
Date Number Description Additions Subiractions balance
4/30 Purchase authorized on 04/28 Firehouse Subs 128 Loveland CO 11.73
$301118793971998 Card 1176
4/30 Interest Payment 0.18 21,472.25
Ending balance on 4/30 21,472.25
Totals $9,132.60 $11,764.21

The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.

Summary of checks written (checks listed are also displayed in the preceding Transaction history)

Number Date Amount Number Date Amount
110 4/5 350.00 111 4/1 1,500.00

 

 

Monthly service fee summary

For a complete list of fees and cetaited account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for a
link to these documents, and answers to common monthly service fee questions.

 

Fee period 04/01/2021 - 04/30/2021 Standard monthly service fee $15.00 You paid $0.00
How to avold the monthly service fee Minimum required This fee period
Have any ONE of the following account requirements
- Total amount of qualifying direct deposits $1,000.00 $8,618.32 [¥]
* Alinked Wells Fargo home mortgage 1 0
- Combined balance in linked accounts, which may include $10,000.00 $19,442.81 [7]

- Minimum daily balance in personal checking, savings, Time Accounts (CDs) and
FDIC-insured Retirement accounts
JDAID

IMPORTANT ACCOUNT INFORMATION

Can we reach you when it's really important?

Don't miss suspicious-activity alerts and critical account information. Please make sure your contact information is current by:

- Signing on tc wellsfargo.com or the Wells Fargo Mobile’ app and navigating to the Update Contact Information page via My Profile
- Contacting the phone number at the top of your statement

- Visiting a branch
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Worksheet to balance your account

Follow the steps below to reconcile your statement balance with your
account register balance. Be sure that your register shows any interest
paid into your account and any service charges, automatic payments or
ATM transactions withdrawn from your account during this statement

period.
[A] Enter the ending balance on this statement.

List outstanding deposits and other
credits to your account that do not appear on
this statement. Enter the total! in the column
to the right.

Description Amount

Total | $ |

 

{c] Add [A] and |B} to calculate the subtotal.

[D] List outstanding checks, withdrawals, and
other debits to your account that do not appear
on this statement. Enter the total in the column
to the right.

Number/Description Amount

Total | $

[E] Subtract [D! from [C] to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.

 

$ |

 

General statement policies for Wells Fargo Bank

m To dispute or report Inaccuracles In Information we have furnished to a
Consumer Reporting Agency about your accounts. You have the right to
dispute the accuracy of information that Wells Fargo Bank, N.A. has
furnished to a consumer reporting agency by writing to us at Overdraft
Collection and Recovery, P.O. Box 5058, Portland, OR 97208-5058. Please
describe the specific information that is inaccurate or in dispute and the
basis for the dispute along with supporting documentation. If you believe
the information furnished is the result of identity theft, please provide us
with an identity theft report.

m= Incase of errors or questions about your electronic transfers,
telephone us at the number printed on the front of this statement or write
us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
you can, if you think your statement or receipt is wrong or if you need more
information about a transfer on the statement or receipt. We must hear
from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

1. Tell us your name and account number (if any).

2. Describe the error or the transfer you are unsure about, and explain as
clearly as you can why you believe it is an error or why you need more
information.

3. Tell us the dollar amount of the suspected error.

We will investigate your complaint and will correct any error prompily. If
we take more than 10 business days to do this, we will credit your account
for the amount you think is in error, so that you will have the use of the
money during the time it takes us to complete our investigation.

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